OAO 245B Case   4:11-cr-40037-SOH
          (Rev. 06/05) Judgment in a Criminal CaseDocument 1109             Filed 04/24/13 Page 1 of 6 PageID #: 3029
          Sheet 1



                                        UNITED STATES DISTRICT COURT
                       WESTERN                                    District of                                ARKANSAS
          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                             V.

                TERRY D. MARTIN                                           Case Number:                       4:11CR40037-065
                                                                          USM Number:                        11063-010

                                                                          Jennifer Brooks Wiggins
                                                                          Defendant’s Attorney
THE DEFENDANT:
X pleaded guilty to count(s)        181 of the Indictment on November 15, 2012

G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                           Offense Ended              Count

21 U.S.C. §§ 841(a)(1),           Possession with Intent to Distribute More Than 28 Grams                        07/05/2011                181
(b)(1)(B)(iii), and               of Crack Cocaine – Aiding and Abetting
18 U.S.C. § 2                     (Class B Felony)


       The defendant is sentenced as provided in pages 2 through                 6       of this judgment, with the court considering the
guidelines as non-binding and advisory only.

G The defendant has been found not guilty on count(s)
X Count 1 & 185 are dismissed on the motion of the government.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          April 22, 2013
                                                                          Date of Imposition of Judgment


                                                                          /S/ Susan O. Hickey
                                                                          Signature of Judge




                                                                          Honorable Susan O. Hickey, United States District Judge
                                                                          Name and Title of Judge

                                                                           April 24, 2013
                                                                          Date
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              Sheet 2 — Imprisonment


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                                                             IMPRISONMENT

            The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
    total term of:     seventy-seven (77) months, with credit for time served in federal custody.




     X    The court makes the following recommendations to the Bureau of Prisons:
          Placement at or near FCI Texarkana, Texas.
          The Court recommends that the defendant be a candidate for the Intensive Drug Treatment Program.


     X    The defendant is remanded to the custody of the United States Marshal.

     G    The defendant shall surrender to the United States Marshal for this district:

          G     at                                 G a.m.       G p.m.           on                                           .

          G     as notified by the United States Marshal.

     G    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          G     before 2 p.m. on                                            .

          G     as notified by the United States Marshal.

          G     as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
    I have executed this judgment as follows:




          Defendant delivered on                                                          to

a                                                    , with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL


                                                                            By
                                                                                                 DEPUTY UNITED STATES MARSHAL
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             Sheet 3 — Supervised Release

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DEFENDANT:                    TERRY D. MARTIN
CASE NUMBER:                  4:11CR40037-065
                                                        SUPERVISED RELEASE
       Defendant is placed on supervised release for a term of:         Four (4) years
which term shall commence immediately upon his release from imprisonment, and which shall be served under the following conditions:



1. Accordingly, within 72 hours of release from custody of the Bureau of Prisons, the defendant shall report in person to the probation
   office in the district to which the defendant is released.

2. The defendant shall not commit another federal, state or local crime; the defendant shall be prohibited from possessing any firearm
or other dangerous device; and the defendant shall not use, possess, or have anything at all to do with any controlled substance.

3. The defendant shall comply with the mandatory drug testing provisions of 18 U.S.C. § 3583(d).

4. The defendant shall comply with the DNA collection provisions of 18 U.S.C. § 3583(d).

5. If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

6. The defendant shall comply with the Standard Conditions of Supervised Release as recommended by the United States Sentencing
Commission and as set out below on this page of the judgment, as well as any additional conditions on the attached page.




                                            STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer.
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;

 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      the defendant shall – as directed by the probation officer – notify third parties of risks that may be occasioned by the defendant’s
          criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
          the defendant’s compliance with such notification requirement.
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           Sheet 3C — Supervised Release
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                                       SPECIAL CONDITIONS OF SUPERVISION



   1. The defendant shall, while on supervised release, submit to inpatient or outpatient substance abuse
      evaluation, counseling, testing, and/or treatment as deemed necessary and under direction of the U.S.
      Probation Office.
    2. The defendant shall submit his person, residence, place of employment, and/or vehicle(s) to a search
       conducted by the U.S. Probation Officer upon reasonable suspicion of contraband.
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          Sheet 5 — Criminal Monetary Penalties

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                                             CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment                                       Fine                               Restitution
TOTALS            $ 100.00                                         $ -0-                              $ -0-


G The determination of restitution is deferred                    . An Amended Judgment in a Criminal Case (AO 245C) will be
     after such determination.

G The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
     otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(I), all nonfederal
     victims must be paid before the United States is paid.

Name of Payee                                Total Loss*                    Restitution Ordered                     Priority or Percentage




TOTALS                             $                          0         $                           0



G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     G the interest requirement is waived for the          G fine    G restitution.
     G the interest requirement for the G fine G restitution is modified as follows:
* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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           Sheet 6 — Schedule of Payments


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                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A    X Lump sum payment of $                100.00            due immediately, balance due

          G      not later than                                   , or
          X      in accordance          G     C,     G   D,   G     E, or     X F below; or
B    G Payment to begin immediately (may be combined with                   G C,     G D, or     G F below); or
C    G Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                          (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    X Special instructions regarding the payment of criminal monetary penalties:
          If not paid immediately, any unpaid financial penalty imposed shall be paid during the period of imprisonment in quarterly
          installments of $25.00 or 10% of the defendant’s quarterly earnings, whichever is greater. After imprisonment, any unpaid financial
          penalty shall be paid during the period of supervised release in monthly installments of $300.00 or 10% of the defendant’s net
          monthly household income, whichever is greater, with the entire balance to be paid in full no later than one month prior to the end of
          the 5-year period of supervised release.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



G Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
G The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,

(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
